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                                  UNITED STATES DISTRICT COURT
                                  SOUTHERN DISTRICT OF FLORIDA
                                        Case No. 0:18-cv-61469-BB

    TRITON II, LLC

         Plaintiff,

    v.

    JOHN RANDAZZO and CAPRICE TURNER,

         Defendants.

                             Plaintiff’s Motion to Lift Stay to Commence
                       Limited Discovery and Supporting Memorandum of Law

                                           Preliminary Statement
           Plaintiff Triton, II, LLC (“Triton”) moves to partially lift the stay on all discovery entered
  on August 14, 2018, because there are two specific issues on which “particularized discovery is
  necessary to preserve evidence or to prevent undue prejudice to that party,” as contemplated under
  15 U.S.C. § 78u–4(b)(3)(B).
           The first limited issue for which particularized discovery is essential is the validity of a
  purported Operating Agreement for Comprehensive Virtual Healthcare, LLC (“CVH Florida”) and
  Irrevocable Proxy (“Proxy”). Triton contends these documents are fake. See Operating Agreement
  and Proxy, attached as Exhibits A and B, respectively. Discovery at this juncture on this issue is
  critical because: (1) it supports Triton’s claims that it was defrauded and its monies were
  misappropriated by the Defendants, and (2) it undercuts Defendants’ sole reliance on these
  documents to defend their misconduct.
           In particular, Defendants assert these documents were executed by Triton’s principal,
  Krishna Lawrence. Yet, Lawrence has no recollection of ever seeing these documents prior to
  Caprice Turner providing copies of these documents in June of 2018. Triton’s Office Manager
  keeps meticulous records of every document Lawrence signs, and has no record of either of these
  documents. Finally, Lawrence’s counsel has no record of any executed operating agreement or
  proxy document. In June of 2018, Turner provided unsigned final versions of these documents in
  Word format and alleged executed versions in .pdf format. The executed version of the Operating

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  Agreement materially differs from the unsigned Word version in at least eight ways, and the
  alleged executed Proxy pdf version also materially differs from its unsigned Word version. As
  such, Triton seeks to inspect the alleged original executed versions of the documents and obtain
  copies of the electronic versions along with the accompanying metadata and correspondence
  concerning these documents. Triton expects this discovery will show Lawrence never signed either
  of these documents and his signature was forged or fraudulently superimposed by the Defendants.
         The second limited issue for which discovery is essential is the tracing of Triton’s funds.
  The discovery here is limited to bank records and tax filings. As alleged in the Complaint, by the
  end of September, 2016, of Triton’s original $2,963,133.44 wired to CVH Florida’s bank account,
  less than $50,000.00 remained. Triton alleges Randazzo deceived Triton into transferring this
  amount by representing the monies would be used to invest in an alleged healthcare business that
  never actually existed and that Defendants ultimately misappropriated Triton’s funds. Banking
  records will identify what Defendants’ actually used Triton’s monies for and whether any such use
  had a legitimate business purpose. Tax filings, or frankly, the lack thereof, over a multiple year
  period, goes directly to the issue of whether CVH Florida was a sham entity used by the Defendants
  to defraud Triton.
                                          Factual Background
         Plaintiff brought a federal action alleging violations of section 10(b) of the Securities and
  Exchange Act of 1934 and Rule 10b-5 promulgated thereunder. Plaintiff also asserts state common
  law claims for fraudulent misrepresentation, conversion, civil conspiracy, breach of fiduciary duty,
  aiding and abetting breach of fiduciary duty, unjust enrichment and negligent misrepresentation.
         The Complaint alleges the following in support of the above claims: In the summer of
  2015, Randazzo made a series of material misrepresentations and omissions to Triton to induce it
  to transfer $2,963,133.44 under the auspices that it would be used to acquire a (30%) interest in
  CVH Florida, an entity which Randazzo represented was an operating virtual healthcare business.
  Once Triton transferred such funds, Randazzo and co-defendant Caprice Turner (“Turner”)
  siphoned off nearly all these monies. Whether the use of any of these monies has a legitimate
  business purpose remains to be seen. As set forth in the Complaint, in June of 2018, Defendants
  gave a description of what Triton’s monies were actually used for that materially differs from the
  representations made three years before.
         Triton’s principal, Krishna Lawrence, executed a declaration, which is attached as Exhibit
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  C. As set forth in that declaration, Lawrence has no recollection of ever signing the purported
  Operating Agreement or the purported Proxy, which Turner provided in June of 2018 prior to the
  filing of this lawsuit. Exhibit C at ¶ 7. Lawrence keeps meticulous records of all documentation
  of any business transaction (including those of Triton) and has no copies or record of these
  documents or the exhibit attached to the Operating Agreement. Id.
           Kelly Baker is the Officer Manager for Triton and has also executed a declaration. See
  Baker Declaration attached as Exhibit D. She attests to the following: She keeps hard copies of
  every document that Lawrence ever signs, and she never deletes any email relating to any business
  transaction in any way. Exhibit D at ¶3. She has no recollection of Triton or Krishna Lawrence
  ever signing the purported Operating Agreement or the purported Proxy. Id. at ¶ 6. If Lawrence
  ever signed the purported Operating Agreement or the purported Proxy, she would have a hard
  copy of each signed document. Id. at ¶ 4. She keeps meticulous records of all documentation of
  any business transaction, and has checked all records maintained for Lawrence and Triton, and
  searched through all of the available emails concerning CVH Florida. Id. at ¶¶ 4–5. She does not
  have any copies or record of these documents or the exhibit attached to the Operating Agreement.
  Id. at ¶5.
           Finally, attorney Lawrence M. Ploucha represented Lawrence and Triton in connection
  with Triton’s planned investment into CVH NC, the predecessor business originally pitched by
  Randazzo to Lawrence, and has signed an affidavit, as well. See Ploucha affidavit, attached as
  Exhibit E. He does not have in his possession any copies of the alleged executed operating
  agreement or irrevocable proxy for CVH Florida. Ploucha Aff. ¶ 4.
                                           Memorandum of Law
      I.       Legal Standards for Motion to Stay Under the Private Securities Litigation
               Reform Act of 1995, 15 U.S.C. § 78u-4 (“PSLRA”).

           Title 15 U.S.C. § 78u–4(b)(3)(B) provides:

           In any private action arising under this chapter, all discovery and other proceedings
           shall be stayed during the pendency of any motion to dismiss, unless the court finds
           upon the motion of any party that particularized discovery is necessary to preserve
           evidence or to prevent undue prejudice to that party.

  The purpose of the PSLRA is to restrict abuses in securities class action litigation such as: “(1)
  the practice of filing lawsuits against issuers of securities in response to any significant change in
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  stock price, regardless of defendants' culpability; (2) the targeting of ‘deep pocket’ defendants: (3)
  the abuse of the discovery process to coerce settlement; and (4) manipulation of clients by class
  action attorneys.” Tobias Holdings, Inc. v. Bank United Corp., 177 F. Supp. 2d 162, 165 (S.D.N.Y.
  2001) (quoting In re Advanta Corp. Secs. Litig., 180 F.3d 525, 530-31 (3d Cir. 1999); other internal
  cites omitted). This is not such a case.
     II.      The Exceptions Expressly Provided By 15 U.S.C. § 78u–4(B)(3)(B) Are Present In
              This Case.

           There is a sufficient showing of need to permit Triton’s requested discovery as to the
  Defendants and non-parties. The discovery it requests is limited and particularized in scope, and it
  is necessary both to preserve evidence and to prevent undue prejudice to Triton. None of the
  prescribed abuses under the PSLRA legitimizing a stay in discovery are present in this case. Triton
  is not attempting to use discovery as a "fishing expedition" to find a sustainable claim not alleged
  in its Complaint. There is no coercive aspect to Triton’s discovery demands. Finally, this is not a
  frivolous lawsuit designed to extort money from defendants who would rather settle than pay
  exorbitant discovery costs. The discovery here is limited in scope and the costs to comply are
  minimal.
              A.    Triton’s Proposed Discovery is Particularized.

           A discovery request is "particularized" within the meaning of 15 U.S.C. § 78u-4(b)(3)(B)
  if the "party seeking discovery under the exception . . . adequately specif[ies] the target of the
  requested discovery." In Re Lernout & Hauspie Sec. Litig., 214 F.Supp. 2d 100, 108 (D. Mass.
  2002). Whether a discovery request is sufficiently "particularized" depends on "the nature of the
  underlying litigation." In re Royal Ahold, 220 F.R.D. 246, 250 (D. Md. 2004). Particularized
  discovery describes a "clearly defined universe of documents," Id. (internal citations omitted).
           Here, the discovery sought by Triton is specific to the limited issues of (1) whether the
  purported executed Operating Agreement and Proxy are genuine or fraudulent; (2) the legitimacy
  of CVH Florida and (3) tracing the actual use of Triton’s funds. The requested discovery clearly
  identifies the universe of documents sought on these issues and the discovery is limited in scope.
           Regarding the purported executed Operating Agreement and Proxy, Triton requests to
  serve (1) requests for production to Defendants (attached as Exhibit F); (2) an inspection request
  upon Defendants (attached as Exhibit G) and (3) a subpoena duces tecum to the law firm of DLA

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  Piper, LLP (attached as Exhibit H), which prepared the draft Operating Agreement and Proxy.
  These requests seek inspection of the alleged original executed versions of the documents,
  production of electronic versions of these documents, including associated metadata and
  correspondence concerning the execution of these documents.
           Regarding the tracing and use of Triton’s monies, Triton requests to serve the following:
               1) Subpoena to non-party Bank of America to obtain specific banking records relating
                  (A) the bank account into which Triton wired its monies and (B) a second bank
                  account into which significant portions of Triton’s monies were subsequently
                  diverted (attached as Exhibit I) and

               2) A request for production to Defendants seeking tax returns for CVH Florida and
                  the banking records identified in the above subpoena to Bank of America (see
                  Exhibit F).

  The foregoing requests are the type of particularized discovery contemplated in the exceptions set
  forth in 15 U.S.C. § 78u-4(b)(3)(B). See Vacold LLC v. Cerami, 2001 U.S. Dist. LEXIS 1589,
  *21–25 (S.D.N.Y. Feb. 16, 2001) (allowing discovery on the limited issue of the nature and timing
  of a disputed contract).
               B.     The Discovery Relating to the Operating Agreement and Proxy is Necessary
                      to Preserve Evidence.

           Without the discovery sought by Triton, evidence may be lost. How Defendants have in
  their possession an “executed” Operating Agreement and Proxy cannot be meshed with
  Lawrence’s contention he never signed these documents and his assistant and lawyer have no
  record of them. Turner provided these documents to Triton prior to this litigation being
  commenced. A review of the signature page of version 3 (Word format) and version 3 (.pdf
  format) of the Operating Agreement certainly does not provide clarity:                          multiple distinct
  differences exist between the two documents. See Version EAST\102509953.3 (“Word Version”),
  attached as Exhibit J1 and EAST\102509953.3 (“PDF Version”), see Exhibit A.
           The signature block in Word Version is as follows:
           IN WITNESS WHEREOF, the undersigned have set their hands effective as of the date
  first set forth above.



  1
   Exhibit J is a copy of the Word version as Plaintiff cannot file documents in Word format. Plaintiff will make the
  Word version available to the Court upon request.

                                                            5
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                                         MEMBERS:


                                         RANDAZZO



                                         John Randazzo

                                         TURNER



                                         Caprice Turner

                                         TRITON

                                         Triton II LLC

                                         By:______________________________________
                                            Krishna W. Lawrence, Managing Member




                                      [Signature Page to Operating Agreement]




  However, the signature block in the “executed” PDF Version reads:




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  The differences include:
      1) The language contained in the footer of the PDF Version differs from the language
           contained in the Word Version;
      2) The member names in the Word Version are fully capitalized and in the PDF Version only
           the first letter of the member names are capitalized;
      3) The indentation of the first line on the signature page of the PDF Version is different than
           the indentation of the first line on the Word Version signature page;
      4) The page margins of the signature page of the PDF Version are different than the margins
           of the signature page on the Word Version;
      5) The signature page of the PDF Version is compressed in size and thus, when reviewed
           electronically, the page size is smaller than the rest of the pages of the document;
      6) There is shading and discoloration in the signature block area of the PDF Version where
           Lawrence allegedly signed;
      7) The name of Triton II, LLC in the PDF Version is more fully spelled out and designated
           as a Florida Limited Liability Company as opposed to the Word Version;
      8) The term “individually” is added to the signature of each Defendant in the PDF Version;
      9) The term “managing member” is in italics in the PDF Version and
      10) The page margin on PDF Version is smaller in size and inconsistent with the other pages
           in the same version
           Last, as stated above, the Word Version of the Operating Agreement is version 3. Version
  2 of this same Word document contains on the signature page in the footer a page number (31) and
  also includes DLA Piper’s internal document reference number document (EAST\102509953.3.2):


  EAST\102509953. 2                                  8

  Both of these items are missing from the footer in version 3 of the Word Version and the PDF
  Version. The only logical explanation is that someone created a separate signature page of these
  two documents and saved them outside of DLA Piper’s document system.
           Similarly, the Proxy Word version and the executed PDF version of the Proxy have several
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  material differences. See Irrevocable Proxy EAST\102596277.1, attached as Exhibit K2 (“Proxy
  Word Version”) and Irrevocable Proxy EAST\102596277.1, see Exhibit B (“Proxy PDF
  Version”). The Proxy Word Version reads:


          IN WITNESS WHEREOF, the undersigned has executed this Irrevocable Proxy as of the
  date first written above.


                                                                    UNIT HOLDER:

                                                                    Triton II LLC, a Florida limited liability
                                                                    company


                                                                    Krishna W. Lawrence, Managing Member



                                             [Signature Page to Irrevocable Proxy]




  The Proxy PDF Version reads:




  2
   Exhibit K is a copy of the Word version as Plaintiff cannot file documents in Word format. Plaintiff will make the
  Word version available to the Court upon request

                                                              9
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  The key differences are:
     1) There is shading and discoloration in the signature block area of the Proxy PDF Version;
     2) The signature for Lawrence as written on the Proxy differs from his signature located on
         the executed Operating Agreement and
     3) DLA Piper’s internal document reference number is missing on the signature page of both
         the Proxy Word Version and the Proxy PDF Version even though such internal document
         reference number is found on the first page of each of the documents.
         The need to preserve the various versions of the documents, the correspondence and
  metadata associated with each of them is demonstrated upon the existence of these material
  differences. Simply, the more time that passes, the more difficult it will be to conduct forensic
  analysis of the various versions and metadata of the purported executed versions. Further,
  discovery to DLA Piper ensures that this non-party does not unintentionally destroy materials
  relating to the Operating Agreement and Proxy is imperative. Triton should be allowed to inspect
  the original executed documents and be provided whatever electronic trail exists relating to them.
             B.    The Discovery is Needed to Prevent Undue Prejudice
         Failure to allow this limited discovery to go forward will also unduly prejudice Triton.
  Undue prejudice requires a showing of improper or unfair detriment that need not reach the level
  of irreparable harm. See Med. Imaging Ctrs. of Am. v. Lichtenstein, 917 F. Supp. 717, 720 (S.D.
  Cal. 1996). Moreover district courts have lifted the discovery stay on grounds of "undue prejudice"
  where defendants might be shielded from liability in the absence of the requested discovery. See,
  e.g., In re Flir Sys. Inc. Sec. Litig, 2000 U.S. Dist. LEXIS 19391 (D. Or. Dec. 13, 2000) ("the
  PSLRA is . . . not to be a sword with which defendants can destroy the plaintiffs' ability to obtain
  information from third parties who are otherwise willing to disclose it"); Global Intellicom, Inc. v.
  Thomson Kernaghan & Co., 1999 U.S. Dist. LEXIS 5439, *4, (S.D.N.Y. Apr. 16, 1999) (finding
  that the plaintiff had "made a showing of undue prejudice to justify taking particularized
  discovery" in the absence of which plaintiff might have been prevented from seeking redress for
  the alleged violations). Other common grounds discussed in determinations of undue prejudice
  include potential destruction of evidence and significant litigation delay. See In re Lernout &
  Hauspie Sec. Litig., 214 F. Supp. 2d 100, 107–08 (D. Mass. 2002).
         Triton will suffer undue prejudice if the Court prevents the above limited discovery from
  going forward. In papers filed before this Court, Defendants take the position that CVH Florida
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  was a legitimate enterprise even though it was administratively dissolved within a year of its
  creation and apparently never filed a tax return over a three year period. Defendants further assert
  Triton’s monies were used in accordance with documents purportedly executed by Lawrence even
  though the executed copies of these documents have material inconsistencies in the signature pages
  as outlined above and the incomplete banking data Triton has in its possession reveals its funds
  were not used for an operating virtual healthcare business.
         Defendants should not be allowed to take such positions absent providing the particularized
  discovery that goes to the heart of their arguments or allowing third-parties to do so. See Vacold
  LLC v. Cerami, 2001 U.S. Dist. LEXIS 1589, *24 (S.D.N.Y. Feb. 16, 2001) (lifting stay to allow
  discrete discovery on core issues in complaint that may otherwise allow defendants to escape
  liability); Flir Sys. Inc. Sec. Litig, 2000 U.S. Dist. LEXIS 19391, *5 (D. Or. Dec. 13, 2000)
  (allowing specific discovery from third-party). For example, if Triton’s monies were ultimately
  used to fund the acquisition of a personal real estate investment or other personal spending by
  Randazzo or Turner, it would undercut the notion that Triton’s monies were used to fund an
  operating virtual healthcare business. Similarly, if DLA Piper made no changes to the signature
  pages of the Word versions of the drafts of the Operating Agreement or Proxy, then the Defendants
  did and significant questions are then raised whether Defendants are attempting to perpetrate a
  fraud upon this Court. And to the extent the Defendants do not have original executed copies of
  the Operating Agreement and Proxy, no correspondence regarding the same or correspondence as
  to how they allegedly received executed copies, it eviscerates their position these documents are
  legitimate. Finally, real operating businesses file tax returns and do not become administratively
  dissolved within a year of formation. To the extent tax returns have not been filed, it reveals the
  sham nature of CVH Florida.
         It bears noting that no prejudice will result to Defendants in seeking this limited discovery.
  The documents sought are limited, the cost of production is de minimis and no privilege or work
  product analysis is triggered. Moreover, because CVH Florida is defunct, “key employees” –there
  are none– will not be inundated with responding to discovery requests. See Flir Sys. Inc. Sec.
  Litig, 2000 U.S. Dist. LEXIS 19391, *5 (D. Or. Dec. 13, 2000) (discussing purpose of discovery
  stay is to avoid inundating key employees with discovery requests). Indeed, Randazzo already
  concedes in his motion to dismiss he can be sued directly for misrepresentation and securities
  fraud, and his argument at this procedural stage is that the allegations stated against him need
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  further factual enhancement. Thus, it would seem to be within his interest, as well as Turner’s, (i)
  to allow Triton to inspect the original executed documents and (ii) reveal how Triton’s monies
  were used. Bottom-line, there are significant discrepancies in the signature pages of the documents
  Defendants rely upon. That the Defendants and their counsel refuse to provide even the most
  rudimentary discovery, for example, allowing inspection of the original executed versions of the
  Operating Agreement and Proxy or providing the company’s federal tax returns, is a massive red
  flag for which the Court should immediately intervene.
                                             CONCLUSION
         WHEREFORE, Triton requests that the Court enter an Order granting this motion allowing
  the limited discovery to proceed and for such further relief the Court deems just and proper.
                       CERTIFICATE OF GOOD FAITH CONFERENCE

         Pursuant to Local Rule 7.1(a)(3)(B), I hereby certify that undersigned counsel conferred
  with counsel for Defendants in good faith in an attempt to resolve the issues set forth in this
  Motion. Defendants do not consent to the relief requested herein.


  Dated: September 4, 2018.                       Respectfully submitted,

                                                  /s/ Paul D. Turner
                                                  Paul D. Turner (113743)
                                                  pturner@pbyalaw.com
                                                  Jonathan Feldman (12682)
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                                                  Attorneys for Plaintiff




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                                          Certificate of Service

         I certify that on September 4, 2018, I electronically filed the foregoing document with the
  Clerk of the Court using CM/ECF. I also certify that I served counsel of record or pro se parties
  either via transmission of Notices of Electronic Filing generated by CM/ECF or in some other
  authorized manner for those counsel or parties who are not authorized to receive electronically
  Notices of Electronic Filing.
                                                  /s/ Paul Turner
                                                  Paul D. Turner (113743)




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